










Opinion issued October 20, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00711–CV




DAT HA, Appellant

V.

VUYEN HA, Appellee




On Appeal from the308th District Court
Harris County, Texas
Trial Court Cause No. 2002-12851




MEMORANDUM OPINIONAppellant Dat Ha has neither established indigence, nor paid all the required
fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent),
20.1 (listing requirements for establishing indigence); see also Tex. Gov’t Code
Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004-05) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Dat Ha did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Hanks.


